Case 2:04-cr-20421-.]DB Document 101 Filed 06/09/05 Page 1 of 2 Page|D 88

IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED STATES OF AMERICA,

   

Plaintiff,

VS.

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310 .,_.
Case No. 2:04cr20421-B 674 9
Jeremiah Harris

 

ORDER REFUNDING CASH APPEARANCE BOND

Thls matter comes before the Court on a motion for refund of the cash appearance bond
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registly in the sum of $1 000 00,

payable to Tabitha Young Bailey at 622 South Roselawn Dr., West Mernphis, AR 72301 in full refund

cf the cash appearance bond posted herein.

Date:§),`.`l§1 i 190 \/

Approved.
Robert R. Di Trolio, Clerk of Court

BY: M/MéZ//
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`ted States Distn`ct Jud§e-
laniel Breen

Thls doctment entered on the docket sheet in compliéce
with R.¢Ie 55 and/or 32Ib) FRCrF on _(L_L_L¢/

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UNITED sTEsAT DISTRIC COURT - WETRNSE DISITRCT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 101 in
case 2:04-CR-20421 Was distributed by faX, mail, or direct printing on
J unc 14, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

